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5:18-cv-01100-BKS-TWD DOE v. Syracuse University

John M Don

  

lutad, Clerk Syracuse
(06274) #304 201 Eonju-ro, Gangnam-gu
Seoul, South Korea

CLERK U.S. DISTRICT COURT

P.O. BOX 7367

100 S. CLINTON STREET
SYRACUSE, NEW YORK 13261-7367

| received the court letter on October 29th, 2021 although it was sent on October 13th,
2021. | was writing to respond to the Motion to Dismiss however a week was not enough time to
finish the letter.

Also, | had found the lawyer who is experienced in title IX matters. And she agreed to
take over my case. Therefore | decided to file the complaint at attorney grievance committee to
ask

1. The terminated lawyers to retake the case until it was resolved
2. Or reimburse the lawyers fee so that new attorney can take over the case

If the complaint with the attorney grievance committee is dismissed, | will close the case. If not, |
would like to respond to the Motion to Dismiss by the extended date. | ask the court to extend
the date until | find the result of the complaint.

After | filed my case with the Office of Civil Rights the university offered the negotiation.
And during the negotiation, the Syracuse university already offered

1. Reinstate me
2. Remove the remain of tuition debt

The merit of the lawsuit was to award the monetary damages which the terminated lawyers
promised. When | found out the offers by the university at OCR were the best one in these title
IX cases, it was very difficult to stand up and decide what | wanted to do with all, especially
after the experiences stamped several times by the university when | voiced my rights. However
| figured it out now and | again ask the court to reconsider my new situation.

Lastly, | would like to receive all letters that were sent by me to the court, especially the
letter complaining about the terminated lawyers. If it is possible, | would like to receive the

letters and the court letters electronically mailed to SMG gmail.com.

Thank you,

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